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                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

YONG LI,                                  :
                                          :
                  Plaintiff,              :
                                          :
            v.                            :                           No. 5:18-cv-01325
                                          :
FAMILY GARDEN II, INC. d/b/a              :
FAMILY GARDEN CHINESE RESTAURANT; :
FAMILY GARDEN ZHANG;                      :
HAPPY FAMILY CHINESE RESTAURANT;          :
ZHI WEI HE; ZHAO ZHANG; JANE DOE; and :
DEIXING GAO,                              :
                                          :
                  Defendants.             :
__________________________________________

                                 MEMORANDUM AND ORDER

   I.        INTRODUCTION

          In this case under the Fair Labor Standards Act seeking unpaid wages, the parties present

a joint request for this Court’s approval of a proposed settlement. For the reasons discussed

below, the settlement is approved, subject to a broad reading of the agreement’s confidentiality

clause.

   II.       BACKGROUND

          Plaintiff Yong Li filed a pro se Complaint on March 30, 2018, alleging violations of the

Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201-219, the Pennsylvania Minimum Wage

Act (“PMWA”), 43 P.S. §§ 333.101-333.15, the Pennsylvania Wage Payment and Collection

Law (“WPCL”), 43 P.S. §§ 260.1-260.45, and Pennsylvania common law for failure to pay

wages for all hours worked and required overtime compensation. ECF No. 1. He alleged that he

worked for Defendants as a kitchen helper in the Family Garden Chinese Restaurant from March

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30, 2015 to August 30, 2016. Plaintiff alleged that he worked seventy-three hours per week, with

thirty-three hours weekly overtime, and was paid $2,300 monthly, or $530.76 per week. His

overtime hourly rate was $10.90. Plaintiff claimed that Defendants did not compensate him for

all the hours he worked in excess of forty in the workweek and that he is owed $26,618 in unpaid

wages. He demanded $53,236, equal to his unpaid wages and an equal amount in liquidated

damages. Defendants denied, and continue to deny, the accuracy of Plaintiff’s allegations.

          Ricardo Morel, Esquire, was granted pro hac vice status and entered his appearance on

behalf of Plaintiff on January 3, 2019. ECF No. 41. On February 29, 2019, the parties filed a

stipulation of dismissal with prejudice of all acclaims against Defendants Dexing Gao and

Family Garden II, Inc. ECF No. 43. Plaintiff and the remaining Defendants have agreed to settle

the matter for $38,500 and present a proposed Settlement Agreement for Court approval.

   III.      LEGAL STANDARD

          “The FLSA establishes federal minimum-wage, maximum-hour, and overtime guarantees

that cannot be modified by contract.” Davis v. Abington Mem’l Hosp., 765 F.3d 236, 241 (3d Cir.

2014) (quoting Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 69 (2013)). If employers

violate the FLSA’s minimum wage and overtime provisions, codified at 29 U.S.C. §§ 206 and

207, respectively, employers may be liable to affected employees “in the amount of their unpaid

minimum wages, or their unpaid overtime compensation, as the case may be, and in an additional

equal amount as liquidated damages.” Id. (citing 29 U.S.C. § 216(b)).

          District courts in the Third Circuit have identified two procedures for settling FLSA

claims: (1) the Department of Labor can supervise the payment of unpaid minimum wages or

overtime compensation pursuant to 29 U.S.C. § 216(c); or (2) the district court can approve a

settlement under 29 U.S.C. § 216(b). See Bredbenner v. Liberty Travel, Inc., Nos. 09–905, 09–



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1248 and 09–4587, 2011 WL 1344745, at *18 (D.N.J. Apr. 8, 2011) (citing Lynn’s Food Stores,

Inc. v. United States, 679 F.2d 1350, 1354 (11th Cir. 1982)); see also Bettger v. Crossmark, Inc.,

No. 13–2030, 2015 WL 279754, at *3 (M.D. Pa. Jan. 22, 2015); Brumley v. Camin Cargo

Control, Inc., Nos. 08–1798, 10–2461 and 09–6128, 2012 WL 1019337, at *1 (D.N.J. Mar. 26,

2012). As to the requirements for settlement approval, district courts in the Third Circuit have

held that the court must determine that “the compromise reached ‘is a fair and reasonable

resolution of a bona fide dispute over FLSA provisions.’” Brumley, 2012 WL 1019337, at *2

(quoting Lynn’s Food, 679 F.2d at 1354); see also In re Chickie’s & Pete’s Wage & Hour Litig.,

No. 12–6820, 2014 WL 911718, at *2 (E.D. Pa. Mar. 7, 2014); Cuttic v. Crozer–Chester Med.

Ctr., 868 F. Supp. 2d 464, 466 (E.D. Pa. 2012); Bredbenner, 2011 WL 1344745, at *18.

       A proposed settlement resolves a “bona fide dispute” when it “reflect[s] a reasonable

compromise over issues, such as FLSA coverage or computation of back wages, that are actually

in dispute,” rather than “a mere waiver of statutory rights brought about by an employer’s

overreaching.” Chickie’s, 2014 WL 911718, at *2 (quoting Lynn’s Food, 679 F.2d at 1354). In

determining whether a compromise is fair and reasonable, courts in this Circuit consider both:

(1) whether the compromise is fair and reasonable to the employee, and (2) whether the

compromise otherwise frustrates the implementation of the FLSA. See Singleton v. First Student

Mgmt. LLC, No. 13–1744, 2014 WL 3865853, at *8 (D.N.J. Aug. 6, 2014); Chickie’s, 2014 WL

911718, at *2; Brumley, 2012 WL 1019337, at *4.

       Thus, in determining whether to approve a settlement for FLSA claims, a court must

engage in a three-part analysis. First, the court must determine that the settlement concerns a

bona fide dispute. Second, the court must determine that the settlement is fair and reasonable to




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the plaintiff-employee. And, third, the court must determine that the agreement does not frustrate

the implementation of the FLSA in the workplace.

    IV.      ANALYSIS

    A. The Settlement Agreement resolves a bona fide dispute.

          A proposed settlement resolves a bona fide dispute if its terms “reflect a reasonable

compromise over issues, such as . . . back wages, that are actually in dispute.” Lynn’s Food,

679 F.2d at 1354. The dispute in this case concerns whether Plaintiff received overtime

compensation at the rate of one and a half times his regular rate of pay for all overtime hours

worked during his employment with the Defendants, as the FLSA requires. Plaintiff’s

complaint raised fact-dependent allegations under both federal and state law. 1 In their Answer,

Defendants denied all material factual allegations, particularly allegations regarding Plaintiff’s

employment period and the number of hours worked per week. In fact, two of the defendants,

Dexing Gao and Family Garden II, Inc. d/b/a Family Garden Chinese Restaurant, adamantly

denied even being proper parties to the action. These defendants vigorously defended their

position and advised their intention to seek a dismissal on the basis, inter alia, of statute of

limitations issues. The parties report that they executed a Stipulation of Voluntary Dismissal of

claims against the latter defendants only after extensive negotiations. In the Settlement

Agreement, Defendants maintain the position that they do not admit or concede any liability

and do not admit that they improperly withheld any pay or overtime from Plaintiff. For these

reasons, there is clearly a bona fide dispute between the parties.




1
        The parties have not requested approval of the settlement as it pertains to Plaintiff’s state
law claims, as court approval of a settlement of those claims is not required. See Gabrielyan v.
S.O. Rose Apartments LLC, No. 15-CV-1771 (CCC-MF), 2015 WL 5853924, at *2 (D.N.J. Oct.
5, 2015)
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    B. The settlement is fair and reasonable.

       The terms of the Settlement Agreement are fair and reasonable. 2 The Plaintiff is being

fully compensated for his alleged overtime hours and is receiving a nearly equal sum in

liquidated damages. The parties calculate Plaintiff’s back wages as $26,618. He demanded

$53,236, equal to his unpaid wages plus an equal amount in liquidated damages as permitted

under the FLSA. 3 Under the Settlement Agreement, he will receive $26,618 for unpaid overtime

wages, plus $8,882 in liquidated damages and $3,000 in attorney’s fees for a total of $38,500.

Although the settlement amount is about $14,700 less than Plaintiff’s demand, the settlement

amount fully compensates him for his unpaid wages and awards him seventy percent of the

amount he demanded. See Gabrielyan v. S.O. Rose Apartments LLC, No. 15-CV-1771 (CCC-

MF), 2015 WL 5853924, at *2 (D.N.J. Oct. 5, 2015) (finding settlement fair and reasonable




2
         In the absence of guidance from the Third Circuit, district courts have used the nine-
factor test from Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir.1975) to assess whether a single-
plaintiff FLSA settlement is fair and reasonable, even though the Girsh factors ordinarily apply
to collective or class action settlements. See, e.g., Lyons v. Gerhard’s Inc., 2015 WL 4378514, at
*3 n. 1, *4 (E.D. Pa. July 16, 2015); Bettger v. Crossmark, Inc., No. 13–2030, 2015 WL 279754,
at *7 (M.D. Pa. Jan. 22, 2015). But some of the Girsh factors are irrelevant in the single-plaintiff
context and thus, “[e]ven though Girsh may suggest the type of factors to be considered in
assessing a private FLSA settlement, courts need not fall into the alluring trap of mechanically
applying Girsh simply because it is the court’s duty to assess whether the proposed agreement is
fair and reasonable.” Kraus v. PA Fit II, LLC, 155 F. Supp. 3d 516, 523 n.3 (E.D. Pa. 2016). As a
result, some courts have applied a more flexible approach and simply balance the settlement
amount against the likelihood of success at trial and likely recovery. See Howard v. Philadelphia
Hous. Auth., 197 F. Supp. 3d 773, 777 n.1 (E.D. Pa. 2016) (applying simpler test in single-
plaintiff settlement and balancing “likelihood of success against the benefit of a certain
settlement”); Redden v. King’s Corner Pub, LLC, No. CV 16-6152, 2017 WL 4883177, at *2
(E.D. Pa. Oct. 27, 2017) (comparing settlement amount and likely recovery). This Court adopts
this second, more streamlined approach.
3
         If employers violate the FLSA’s minimum wage and overtime provisions, codified at 29
U.S.C. §§ 206 and 207, respectively, employers may be liable to affected employees “in the
amount of their unpaid minimum wages, or their unpaid overtime compensation, as the case may
be, and in an additional equal amount as liquidated damages.” Davis v. Abington Mem’l Hosp.,
765 F.3d 236, 241 (3d Cir. 2014) (citing 29 U.S.C. § 216(b)).
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where plaintiff received full amount of his unpaid wages plus an equal amount of liquidated

damages). Because Defendants have denied liability throughout this case and many issues appear

contested, continuing to trial would pose a risk of nonrecovery to Plaintiff; the settlement

eliminates this risk.

        Additionally, the difference between Plaintiff’s demand for damages at trial and the

settlement amount is offset by the fact that Plaintiff incurred a lower amount of attorney’s fees

than in a standard case. Plaintiff proceeded pro se with pro bono assistance for much of the case,

and his counsel Ricardo Morel, Esquire, entered the case toward its conclusion and will receive a

fee of $3,000. This is approximately eight percent of the total award and is a reasonable fee for

his efforts at the later stages of the case. See Mabry v. Hildebrandt, No. CV 14-5525, 2015 WL

5025810, at *4 (E.D. Pa. Aug. 24, 2015) (collecting cases and observing that within the Third

Circuit, the percentage of the recovery award in FLSA cases allotted to counsel ranges from

roughly 20–45% where counsel represents plaintiff through the entirety of the case).

        Accordingly, the proposed settlement is fair and reasonable.

    C. The Settlement Agreement does not frustrate the implementation of the FLSA as

        long as the confidentiality clause is broadly construed.

        Lastly, this Court must consider whether the proposed settlement frustrates the

implementation of the FLSA in the workplace. The Settlement Agreement does not contain the

sort of overly broad release of claims that courts have rejected. See, e.g., Kraus v. PA Fit II, LLC,

155 F. Supp. 3d 516, 532–33 (E.D. Pa. 2016); Bettger, 2015 WL 279754, at *8–10.

        However, the Settlement Agreement does contain a confidentiality clause, which

provides:




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       5. Confidentiality

       The nature and terms of this Agreement are strictly confidential and they have not
       been and shall not be disclosed by Li at any time to any person other than Li’s
       lawyer or accountant, a governmental agency, or Li’s immediate family without
       the prior written consent of Defendants, except to the extent required by law or
       the District Court’s procedures, or as necessary in any legal proceedings directly
       related to the provisions and terms of this Agreement, to prepare and file income
       tax forms, or as required by court order after reasonable notice to Defendants.

“There is ‘broad consensus’ that FLSA settlement agreements should not be kept confidential.”

Brown, 2013 WL 5408575, at *3 (citing Brumley, 2012 WL 300583, at *3). The “public-private

character” of employee rights under the FLSA means that the public, including current, former,

or potential employees of a particular defendant, has an interest in assuring that employee wages

are fair; thus, courts find that restrictive confidentiality provisions frustrate the implementation

of the FLSA. See Mabry v. Hildebrandt, No. CV 14-5525, 2015 WL 5025810, at *3 (E.D. Pa.

Aug. 24, 2015) (approving settlement agreement with the exception of confidentiality clause).

       Courts have approved limited or narrowly drawn confidentiality clauses only where the

clauses did not prevent plaintiffs from discussing the settlements with defendants’ employees. Id.

For example, in McGee v. Ann’s Choice, Inc., the court found a confidentiality provision

reasonable where “[p]laintiffs are free to discuss the litigation with friends, family, employees,

and individuals not affiliated with the media.” No. CIV.A. 12-2664, 2014 WL 2514582, at *3

(E.D. Pa. June 4, 2014). Because the confidentiality provision in the Settlement Agreement

permits disclosure “to the extent required by law or the District Court’s procedure,” this Court

will approve the provision as reasonable to the extent that it is interpreted to permit Plaintiff to

discuss its terms with friends, family, Defendants’ employees, and individuals not affiliated with




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the media. With that caveat, this Court finds that the Settlement Agreement does not frustrate the

implementation of the FLSA in the workplace.

   V.      ORDER

        AND NOW, this 20th day of March, 2019, upon consideration of the joint motion for

approval of the Settlement Agreement, ECF No. 46, IT IS ORDERED THAT:

   1. The Motion is GRANTED.

   2. The Settlement Agreement is APPROVED.

   3. This case is CLOSED.




                                                     BY THE COURT:



                                                     /s/ Joseph F. Leeson, Jr._____________
                                                     JOSEPH F. LEESON, JR.
                                                     United States District Judge




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